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                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

COLONY INSURANCE COMPANY,                         §
                                                  §
          Plaintiff,                              §
                                                  §
v.                                                §      Civil Action No.
                                                  §
HOPE PEDIATRICS, LLC                              §
                                                  §
          Defendant.                              §

                                           COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

          NOW COMES, Plaintiff Colony Insurance Company (“Colony”), and represents to the

Court as follows:

                                            Introduction

     1.           This is an action for declaratory judgment to determine whether Colony has a duty

to defend or indemnify Defendant Hope Pediatrics, LLC (“Hope”) under a policy of liability

insurance, issued by Colony to Hope, against the claims and potential claims raised in the lawsuit

styled Paula Etchieson, Individually and as heir to the body of Virgil J. Etchieson v. Hope

Pediatrics, LLC, et al., No. DC-17-789, in the 193d Judicial District, Dallas County, Texas (the

“underlying lawsuit.”).

                                               Parties

     2.           Colony is a citizen of the commonwealth of Virginia, being a corporation formed

in Virginia and having its principal place of business at 8720 Stony Point Pkwy, Suite 400,

Richmond, Virginia 23235.




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     3.           Defendant Hope Pediatrics, LLC is a limited liability company and a citizen of the

state of Texas because all members of Hope are natural persons who domicile in Texas. Hope may

be served through its registered agent, Carl S. Willis, at 10046 Tulare Lane, Fort Worth, Texas

76117.

                                             Jurisdiction

     4.           This Court has jurisdiction to hear this case pursuant to 28 U.S.C. §1332 because

Plaintiff is a citizen of the commonwealth of Virginia, Defendant is a citizen of the state of Texas,

and the amount in controversy, exclusive of interest and costs, exceeds $75,000.00.

     5.           The Court has personal jurisdiction over Defendant because it is a resident of the

state of Texas.

     6.           Venue is appropriate under 28 U.S.C. § 1391(b)(1) because Defendant resides in

this district. It is also proper under § 1391(b)(2) because a substantial part of the events or

omissions giving rise to the claim occurred in this district. See also 28 U.S.C. § 124(a)(1).

                                 Factual Allegations Against Hope

     7.           Hope is a defendant in the underlying lawsuit, a wrongful death case brought by

Paula Etchieson, the mother of the decedent, Virgil “Johnny” Etchieson.

     8.           Etchieson alleges that on June 29, 2015, a Hope employee failed to act as a

reasonably prudent licensed vocational nurse in the course and scope of his employment with

Hope. This allegedly resulted in Johnny’s death.

     9.           Etchieson further alleges that Hope was negligent for placing the employee in the

Etchiesons’ home to care for Johnny.




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    10.        The underlying petition alleges that on November 1, 2016, Etchieson sent to Hope

a statutory notice letter and release of information. The petition alleges that Hope received the

letter on November 7, 2016.

    11.        Hope notified Colony of the claim on April 20, 2017.

                                    Colony Policies of Insurance

    12.        Colony issued to Hope two liability insurance policies, both bearing number

AP515565, effective January 17, 2016 to January 17, 2017 (the “2016-17 policy) and January 17,

2017 to January 17, 2018 (the “2017-18 policy” and collectively the “policies”). The policies

provide no coverage for Hope for the claims alleged in the underlying lawsuit.

               No Coverage Under the Professional Liability Coverage Form

    13.        The policies contain a Professional Liability Coverage Part, which provides

coverage via the following insuring agreement, in pertinent part:

               1.     Insuring Agreement D – Professional Liability

                      a.      We will pay, in excess of the Deductible shown in the
                              Declarations, those sums the insured becomes legally
                              obligated to pay as “damages” because of a “wrongful act”
                              to which this insurance applies. We may, at our discretion,
                              investigate any incident and settle any “claim” that may
                              result. . .

                                                ***

                      b.      This insurance applies to “wrongful acts”, but only
                              if:

                              (2)      prior to the effective date of this Policy, no insured
                                       had knowledge of any “claim” or any “wrongful act”
                                       that could reasonably give rise to a “claim” under this
                                       Policy; [and]



                                                ***



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                             (7)     the “claim” is first reported to us subsequent to this
                                     Policy's effective date and prior to the expiration of
                                     this Policy or during any applicable Extended
                                     Reporting Period we provide and in accordance with
                                     the provisions set forth in SECTION VI -
                                     CONDITIONS, 6. Duties In The Event Of A Claim
                                     Or Suit within the Common Policy Provisions; and


Pertinent definitions, provided in the Common Policy Provisions form, are as follows:

              3.      “Claim” means:

                      a.     a demand for money; or

                      b.     the filing of “suit”; naming the insured and alleging:

                             (1)     a “wrongful act” resulting from the rendering of or
                                     the failure to render “professional services”; or

                             (2)     an offense or an “occurrence”.

              “Claim” does not include a demand for equitable or non-pecuniary relief.

                                              ***

              30.     “Wrongful act” means an act, error or omission in the rendering of
                      or failure to render “professional services” by any insured covered
                      under this Policy and performing the operations described under
                      BUSINESS DESCRIPTION in the Declarations including an act,
                      error or omission resulting in the violation of any right guaranteed
                      to your residents under state or federal law or guidelines regulating
                      your business as a resident health facility.

                                              ***

              22.     “Professional services” means the providing of:

                      a.     medical, surgical, dental, x-ray, mental health or nursing
                             service or treatment, or the furnishing of food or beverage in
                             connection with such service or treatment;

                      b.     medications, medical supplies or medical appliances;

                      c.     health or therapeutic service, treatment or advice;

                      d.     counseling or social service;


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                      e.      postmortem handling of human bodies including organ or
                              tissue recovery; and

                      f.      services undertaken accreditation, standards professional
                              board or insured while:

                      for your formal review or equivalent committee for any

                              (1)    evaluating the professional qualifications or clinical
                                     performance of any providers of “professional
                                     services”; or

                              (2)    promoting and maintaining the quality of
                                     “professional medical services” being provided;
                                     including the executing, or failure to execute a
                                     decision or directive of your formal accreditation,
                                     standards review or equivalent professional board or
                                     committee.

    14.        The policies’ Professional Liability Coverage Part also contains the following

provision:

               SECTION IV – EXTENDED REPORTING PERIODS

                                              ***

               3.     A sixty (60) day Basic Extended Reporting Period is automatically
                      provided without additional charge. The Basic Extended Reporting
                      Period starts with the end of the “policy period”.

               In order to benefit from the Basic Extended Reporting Period, all “claims”
               must be first made against you during the “policy period” and duly reported
               to us during the Basic Extended Reporting Period and in accordance with
               the provisions set forth in SECTION VI - CONDITIONS, 6. Duties In The
               Event Of A Claim Or Suit within the Common Policy Provisions.

                                             ***

    15.        There is no coverage afforded by the 2016-17 policy’s Professional Liability

Coverage Part because Hope did not report the claim to Colony within the Basic Extended

Reporting Period — i.e., 60 days after the policy’s expiration on January 17, 2017.




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    16.        There is no coverage under the 2017-18 policy’s Professional Liability Coverage

Part because Hope received notice of the claim on November 7, 2016, which is prior to the

effective date of the 2017-18 policy.

           No Coverage Under the Commercial General Liability Coverage Part

    17.        The policies also provide general liability coverage via the Commercial General

Liability Coverage Part’s insuring agreement, which provides, in pertinent part:

               1.     Insuring Agreement A - Bodily Injury And Property Damage

                      a.      We will pay, in excess of the Deductible shown in the
                              Declarations, those sums that the insured becomes legally
                              obligated to pay as “damages” because of “bodily injury”
                              or “property damage” to which this insurance applies. . .

                                                ***

                      b.      This insurance applies to “bodily injury” and “property
                              damage” only if:

                                                ***

                              (3)       a “claim” because of the “bodily injury” or “property
                                        damage” is first made against any insured and
                                        reported to us in accordance with:

                                        (a)    paragraph c. below; and

                                        (b)    the provisions set forth in SECTION VI -
                                               CONDITIONS, 6. Duties In The Event Of
                                               A Claim Or Suit within the Common Policy
                                               Provisions; during the “policy period” or any
                                               Extended Reporting Period we provide under
                                               SECTION          IV      -     EXTENDED
                                               REPORTING PERIODS.

The Common Policy Provisions form provides the following definitions:

               2.     “Bodily Injury” means bodily injury, mental anguish, sickness or
                      disease sustained by a person, including death resulting from any
                      of these at any time.




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    18.        The policies’ Commercial General Liability Coverage Part also contain the

following provision:

               SECTION IV – EXTENDED REPORTING PERIODS

                                               ***

               3.      A sixty (60) day Basic Extended Reporting Period is automatically
                       provided without additional charge. The Basic Extended Reporting
                       Period starts with the end of the “policy period”.

               In order to benefit from the Basic Extended Reporting Period, all “claims”
               must be first made against you during the “policy period” and duly reported
               to us during the Basic Extended Reporting Period and in accordance with
               the provisions set forth in SECTION VI CONDITIONS, 6. Duties In The
               Event Of A Claim Or Suit within the Common Policy Provisions.

                                               ***

    19.        There is no coverage under the 2016-17 policy’s General Liability Coverage Form

because Hope did not report the claim to Colony within the Basic Extended Reporting Period —

i.e., 60 days after January 17, 2017.

    20.        The General Liability Coverage Part contains the following exclusion:

               SECTION II – ADDITIONAL EXCLUSIONS

               1.      The following additional exclusions apply to Insuring Agreement
                       A - Bodily Injury And Property Damage and Insuring
                       Agreement B - Personal And Advertising Injury:

                                               ***

                       c.     Known Prior Loss or Injury

                       Based upon or arising out of:

                       (1)     an “occurrence” or offense prior to the effective date of the
                               policy that any insured knew or could have reasonably
                               foreseen could give rise to a “claim”;

                                               ***




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                      (3)     any “occurrence”, offense, “claim”, act, error or omission
                              disclosed in the application for this policy.

    21.        The underlying petition alleges that Hope received notice of the claim on November

7, 2016, which is prior to the inception of the 2017-18 policy. Therefore, this exclusion precludes

coverage for the claim.

                 The Claim is Excluded from GL Coverage by Endorsement

    22.        The policies also contain an endorsement titled “Exclusion – Health Care Services

and Patient, Client or Resident Injury – Names Perils Exception” (the “Endorsement”). The

Endorsement provides, in pertinent part:

               A.     SECTION II - ADDITIONAL EXCLUSIONS, 1. within the
                      Commercial General Liability Coverage Part is amended by the
                      addition of the following:

               This Policy does not apply to any “claim” based upon or arising out of
               “bodily injury”, “property damage” or “personal and advertising injury”
               sustained by any person while:

               (1)    your patient;

               (2)    your “client”; or

               (3)    your “resident”.

               However, this exclusion does not apply to “bodily injury” caused by
               a “named peril” to any person included in (1), (2) or (3) above.

               This Policy does not apply to any “claim” based upon or arising out
               of “bodily injury”, “property damage” or “personal or advertising
               injury” arising out of:

               (1)    the rendering or failure to render:

                      (a)      medical, surgical, dental, x-ray or nursing service,
                               treatment, advice or instruction, or the related furnishing of
                               food or beverages;

                      (b)     any health or therapeutic service, treatment, advice or
                              instruction; or



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                                              ***

              (2)    the furnishing or dispensing of drugs or medical, dental or surgical
                     supplies or appliances; or

                                             ***

The Endorsement also adds the following definitions:

              “Client” means an individual for whom you perform services at your
              facilities.

              “Named peril” means:

              a.     Slip, trip or fall;

              b.     Heat, smoke or fumes from a “hostile fire”;

              e.     Lightning, windstorm or earthquake;

              d.     Explosion, collapse, bursting, rupture, of a tank, machinery,
                     equipment, or other similar apparatus or device (other than an
                     “auto”), including any attached piping, pumps or valves, if the
                     explosion, collapse, bursting, or rupture is not caused by
                     deterioration, corrosion, erosion, decay, rotting or wear and tear;

              e.     Leakage from fire extinguishing equipment;

              f.     Falling objects. This does not include “bodily injury” to:

                     (1)     any person in the open; or

                     (2)     any person in the interior of a building or structure unless the
                             roof or an outside wall of the building or structure is first
                             damaged by a falling object;

              g.     Weight of snow, ice or sleet; or

              h.     Water damage - the accidental discharge or leakage of water or
                     steam as the direct result of the breaking apart or cracking of a
                     plumbing, heating, air conditioning or other system or appliance
                     (other than a sump system including its related equipment and
                     parts), that is located on your premises and contains water or steam.




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               “Resident” means an individual residing at your facilities. However,
               your employees are not “residents”.

The endorsement precludes coverage for the claim under both policies’ General Liability Coverage

Form because Etchieson seeks damages for “bodily injury” to Johnny — a patient, “client”, or

“resident” of Hope — which was not caused by a “named peril.”

                                     No Duty to Indemnify

    23.        The same reasons that negate Colony’s duty to defend negate any possibility that

Colony will have a duty to indemnify Hope.

                             Reservation Regarding Amendment

    24.        Colony reserves the right to amend as necessary to add to this action additional

claims that may be made against Defendant.

          WHEREFORE, PREMISES CONSIDERED, Colony Insurance Company prays for a

declaration that it owes no duty to defend or indemnify Hope against the claims made subject of

the lawsuit styled Paula Etchieson, Individually and as heir to the body of Virgil J. Etchieson v.

Hope Pediatrics, LLC, et al., No. DC-17-789, in the 193d Judicial District, Dallas County, Texas;

and for such other and further relief, at law or in equity, to which Colony may show it is justly

entitled.




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                                  Respectfully submitted,

                                  /s/ John C. Tollefson
                                  John C. Tollefson
                                  State Bar No. 20109400
                                  Stephen A. Melendi
                                  State Bar No. 24041468
                                  Matthew Rigney
                                  State Bar No. 24068636
                                  Tollefson Bradley Mitchell & Melendi, LLP
                                  2811 McKinney Avenue, Suite 250
                                  Dallas, Texas 75204
                                  Telephone:     214-665-0100
                                  Facsimile:     214-665-0199
                                  ATTORNEYS FOR PLAINTIFF,
                                  COLONY INSURANCE COMPANY




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